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Information to identify the case:
Debtor
               Damaca Investments LLC                                            EIN:   82−0805724
               Name

United States Bankruptcy Court   Southern District of Florida                     Date case filed in chapter:       11   3/16/22
                                                                                  Date case converted to chapter:
Case number:        22−12084−EPK                                                                                    7    7/14/22


Notice of Chapter 7 Bankruptcy Case −− Proof of Claim Deadline Set
For the debtors listed above, this case, originally filed under chapter 11 has converted to chapter 7.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot sue,
assert a deficiency, repossess property, or otherwise try to collect from the debtor. Creditors cannot demand repayment from
debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and
attorney's fees.

You may want to consult an attorney to protect your rights. The bankruptcy clerk's office staff cannot give legal advice.
Do not file this notice with any proof of claim or other filing in the case.
WARNING TO DEBTOR: WITHOUT FURTHER NOTICE OR HEARING THE COURT MAY DISMISS YOUR CASE FOR
FAILURE OF THE DEBTOR TO APPEAR AT THE MEETING OF CREDITORS OR FAILURE TO TIMELY FILE REQUIRED
SCHEDULES, STATEMENTS OR LISTS.


1. Debtor's Full Name                 Damaca Investments LLC
2. All Other Names Used
   in the Last 8 Years
3. Address                            5655 La Quinta Ct.
                                      Lake Worth, FL 33463
4. Debtor's Attorney                  Nicholas B. Bangos Esq.                                  Contact phone 561−781−0202
     (or Pro Se Debtor)               2650 RCA Blvd
                                      Suite 114
     Name and address                 Palm Beach Gardens, FL 33410
5. Bankruptcy Trustee                 Michael R Bakst                                          Contact phone 561−838−4539
   Name and address                   P. O. Box 407
                                      West Palm Beach, FL 33402
6.     Bankruptcy Clerk's                Flagler Waterview Bldg                                      Hours open 8:30 a.m. − 4:00 p.m.
       Divisional Office Where           1515 N Flagler Dr #801                                      Contact Phone (561) 514−4100
       Assigned Judge is                 West Palm Beach FL 33401
       Chambered
     Documents filed conventionally in paper may be filed at any bankruptcy clerk's              Note: Contact the Clerk's Office at the
     office location. Documents may be viewed in electronic format via CM/ECF at                 number listed above or check the court's
     any clerk's office public terminal (at no charge for viewing) or via PACER on               website for reduced hours of operation
     the internet accessible at pacer.uscourts.gov (charges will apply). Case filing             for in−person filings.
     and unexpired deadline dates can be obtained by calling the Voice Case
     Information System toll−free at (866) 222−8029. As mandated by the
     Department of Homeland Security, ALL visitors (except minors accompanied                    Clerk of Court: Joseph Falzone
     by an adult) to any federal building or courthouse, must present a current, valid,          Dated: 7/15/22
     government issued photo identification (e.g. drivers' license, state identification
     card, passport, or immigration card.)

7. *MEETING OF CREDITORS*             August 23, 2022 at 01:30 PM                                     *MEETING WILL BE HELD BY
   The debtor's representative                                                                              TELEPHONE*
   must attend the meeting to be      The meeting may be continued or adjourned to a
   questioned under oath.             later date. If so, the date will be on the court           Trustee: Michael R Bakst
   Creditors may attend, but are      docket.                                                    Call in number: 877−768−7989
   not required to do so.                                                                        Passcode: 7929334
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Debtor Damaca Investments LLC                                                                              Case number 22−12084−EPK

8. Deadlines                          Deadline for all creditors to file a proof of claim                  Filing deadline: 9/22/22
   The bankruptcy clerk's office      (except governmental units):
   must receive these                 Deadline for governmental units to file a proof                      Filing deadline: 1/10/23
   documents and any required         of claim:
   filing fee by the following
   deadlines.
                                      Deadlines for Filing Proof of Claim:
                                      A proof of claim is a signed statement describing a creditor's claim. A proof of claim form
                                      may be obtained at www.flsb.uscourts.gov or any bankruptcy clerk's office. If you do not file
                                      a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must
                                      file a proof of claim even if your claim is listed in the schedules that the debtor filed. If this is
   When Filing Proofs of              a converted case proofs of claim filed under the initial chapter shall be deemed filed and
   Claim: Claims may be               need not be refiled.
   delivered or mailed to the         Secured creditors retain rights in their collateral regardless of whether they file a proof of
   clerk's office. Creditors with     claim. Filing a proof of claim submits the creditor to the jurisdiction of the bankruptcy court,
   internet access have the           with consequences a lawyer can explain. For example, a secured creditor who files a proof
   option to use the electronic       of claim may surrender important nonmonetary rights, including the right to a jury trial.
   claims filing program on the
   court website at                   Filing Deadline for a Creditor with a Foreign Address: The deadlines for filing proofs of
   www.flsb.uscourts.gov to           claim in this notice apply to all creditors. If you are a creditor receiving a notice mailed to a
   electronically file a proof of     foreign address, you may file a motion asking the court to extend the deadline to file a proof
   claim.                             of claim. See also box 9 below.
9. Creditors with a Foreign          Consult an attorney familiar with United States bankruptcy law if you have any questions
   Address                           about your rights in this case.

10. Liquidation of the Debtor's The bankruptcy trustee listed on the front of this notice will collect and sell the debtor's
    Property and Payment of     property. If the trustee can collect enough money, creditors may be paid some or all of the
    Creditors' Claims           debts owed to them, in the order specified by the Bankruptcy Code. To ensure you receive
                                any share of that money, you must file a proof of claim, as described above.

11. Abandonment of Property           Pursuant to Local Rule 6007−1(A), the trustee will abandon at the meeting of creditors all
    by Trustee, Deadline to           property that the trustee has determined is of no value to the estate and file a report within
    Object to Trustee's Report        two business days. Objections to the report must be filed within 14 days of the meeting.
12. Option to Receive Notices         1) EBN program open to all parties. Register at the BNC website
    Served by the Clerk by            bankruptcynotices.uscourts.gov, OR 2) DeBN program open to debtors only. Register by
    Email Instead of by U.S.          filing with the Clerk of Court, Local Form "Debtor's Request to Receive Notices Electronically
    Mail                              Under DeBN Program". There is no charge for either option. See also Local Rule 9036−1(B)
                                      and (C).
13. Translating Services              Language interpretation of the meeting of creditors will be provided to the debtor at no cost,
                                      upon request to the trustee, through a telephone interpreter service. Persons with
                                      communications disabilities should contact the U.S. Trustee's office to arrange for translating
                                      services at the meeting of creditors.

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